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                                    VERIF']tCATION

I, PeterBartlow, am president of Bartlow Gallery, Ltd., a plaintiff in this action, and
declareas follows:
    1. I am of sound mind, am over 21 yearc of age and am otherwise competent to
       testify.
   2. I have personal knowledge of the facts set forth in the foregoing Verffied
      Complaint for Declaratory and Other Reliefand if called on to testify as to these
      matterswould do so competently.
   3. I verify under penalty of perjury unLderthe laws of the United Statesof America
      that the foregoing is true and correot, except as to matters therein statedto be on
      information and belief and as to such matters the undersigned certifies as
      aforesaidthat he or she verily believesthe sameto be true.

       onApril 30,20t3.
Executed



 *!*e{,f**W
SUBSCRIBED    AND SWORNTO before
  lhis 30th day of{pri
